










Opinion issued August 3, 2006











In The
Court of Appeals
For The
First District of Texas




NO. 01–06–00333–CV




INTERNATIONAL FIDELITY INSURANCE COMPANY AGENT JUDY
GRANDMAISON-WARREN, Appellant

V.

THE STATE OF TEXAS, Appellee




On Appeal from the 180th District Court
Harris County, Texas
Trial Court Cause No. 1998-9689A




MEMORANDUM OPINIONAppellant, International Fidelity Insurance Company Agent Judy Grandmaison-Warren, has neither established indigence, nor paid all the required fees.  See Tex. R.
App. P. 5 (requiring payment of fees in civil cases unless indigent), 20.1 (listing
requirements for establishing indigence); see also Tex. Gov’t Code Ann. §§ 51.207,
51.941(a), 101.041 (Vernon Supp. 2005) (listing fees in court of appeals); Fees Civ.
Cases B(1), (3) (listing fees in court of appeals).  After being notified that this appeal
was subject to dismissal, appellant did not adequately respond.  See Tex. R. App. P.
5 (allowing enforcement of rule); 42.3(c) (allowing involuntary dismissal of case).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The appeal is dismissed for nonpayment of all required fees.  All pending
motions are denied.
PER CURIAM
Panel consists of Justices Jennings, Hanks, and Higley.


